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                             UNITED STATES DISTRICT COURT                                 9/30/2022
                             WESTERN DISTRICT OF VIRGINIA                           ("//(#$/  "/
                                  LYNCHBURG DIVISION                                -/ ./ "/ #/
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   JANE DOE,
                                                             CASE NO. 6:21-cv-00059
                                    Plaintiff,

                             v.                              ORDER

   LIBERTY UNIVERSITY, INC., et al.,
                                                             JUDGE NORMAN K. MOON
                                   Defendants.



        For the reasons set forth in the accompanying Memorandum Opinion, the Court hereby

 GRANTS in part Named Defendant’s motion to dismiss or to strike. Dkt. 10. The Court will

 DENY Plaintiff’s request to proceed under a pseudonym and will permit Plaintiff fourteen (14)

 days whether to file an amended complaint that identifies Plaintiff, or within that time she may

 instead opt to file a notice of voluntary dismissal as against Named Defendant.

        It is so ORDERED.

         The Clerk of Court is directed to send this Order to counsel of record.

        ENTERED this ______
                       30th day of September, 2022.
